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13                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
14

15    PCR DISTRIBUTING CO., a company Case No. 2:24-cv-07453-CV-AJR
      organized under the laws of California,
16
                                              NHENTAI.NET’S NOTICE OF
17                 Plaintiff                  MOTIONS AND MOTIONS TO
18
      vs.                                     DISMISS (FED. R. CIV. P. 12(b)(6))
                                              AND STRIKE (FED. R. CIV. P.
19    JOHN DOES 1-20 d/b/a                    12(f)); MEMORANDUM OF
20
      NHENTAI.NET,                            POINTS AND AUTHORITIES IN
                                              SUPPORT Filed herewith: Rynell
21                Defendants                  Declaration, Exhibits, Proposed Order
22
                                                    Date: TBD
23                                                  Place: First Street Courthouse
24
                                                    350 W. 1st Street, Courtroom 5D
                                                    5th Floor
25                                                  Los Angeles, California 90012
26                                                  Honorable Judge Cynthia Valenzuela

27


     NOTICE OF MOTIONS AND MOTIONS TO DISMISS AND STRIKE FAC                        PAGE i
     Case 2:24-cv-07453-CV-AJR        Document 47 Filed 02/10/25     Page 2 of 30 Page ID
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 1 TO ALL PARTIES AND ATTORNEYS OF RECORD: PLEASE TAKE NOTICE

 2 that the operators of www.nhentai.net, i.e., the entity that owns www.nhentai.net

 3 (“Nhentai.net”), moves to dismiss Plaintiff PCR Distributing, Co.’s (“Plaintiff” or

 4 “PCR”) First Amended Complain (“FAC”) (Dkt. No. 40) under Federal Rule of Civil

 5 Procedure 12(b)(6) and to strike pursuant to Federal Rule of Civil Procedure 12(f).

 6 These Motions are made on the grounds that, despite the filing of its amended

 7 pleadings, Plaintiff still fails to state a claim as to every single element of a prima

 8 facie case of direct copyright infringement. Plaintiff’s direct and secondary

 9 infringement claims (which are dependent on the direct) should be dismissed.

10 Plaintiff’s claims are also barred by the statute of limitations. Relatedly, Plaintiff is

11 barred by law from seeking statutory damages or attorneys’ fees, as nothing in its

12 FAC establishes the requirements for such entitlement and all evidence appears to

13 the contrary. In the event the case is not dismissed in its entirety, Nhentai.net moves

14 to strike allegations in the FAC as to an unrelated website, nhentai.to, where Plaintiff

15 purports to assert rights that it does not even own, and Plaintiff’s request for grossly

16 overreaching relief in the form of transfer of an entire domain when it only claims

17 rights to less than one percent of said domain. These Motions are based upon this

18 Notice; the attached Memorandum and exhibits; Declaration of Jennifer M. Rynell

19 and exhibits; documents on file in this action; and such further or additional evidence

20 or argument as may be presented relating to these Motions. These Motions are made

21 following the conference of counsel pursuant to Local Rule 7-3. Counsel for

22 Nhentai.net contacted counsel for Plaintiff via email on February 3 and 4, 2025 to

23 schedule the required conference of counsel. The conference of counsel took place

24 by phone on February 5, 2025. Counsel for Nhentai.net disclosed the bases and

25 substance of the motions herein and no agreement was reached.

26 Dated: February 10, 2025                    By: Jennifer M. Rynell
27                                                John T. Wilson (Pro Hac Vice)


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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2          The operators of www.nhentai.net, i.e., the entity that owns www.nhentai.net
 3 (“Nhentai.net”), 1 move to dismiss Plaintiff’s First Amended Complaint (“FAC”) in

 4 its entirety with prejudice pursuant to Federal Rule of Civil Procedure 12(b)(6).

 5          There are numerous bases on which Plaintiff’s FAC should be dismissed. It is
 6 difficult to determine which is the most egregious. Plaintiff has not and cannot state

 7 a claim of direct copyright infringement. Plaintiff fails to assert a qualifying

 8 ownership interest in the copyrights that would show it has statutory standing to

 9 bring this suit. Because four of the now seven asserted copyrights are not even in its

10 name, Plaintiff pivots to claim JAST USA as a fictitious business entity name. This

11 does not rescue Plaintiff from dismissal because the cited DBA filing does not

12 appear to exist. Plaintiff also now claims – without proof – to own certain specific

13 exclusive rights in the asserted copyrights, but even if this is true, the registrations

14 for the asserted copyrights do not cover anywhere near the breadth of the exclusive

15 rights it claims to own.

16          Plaintiff does not have and has not properly pleaded valid copyrights. The
17 asserted copyrights relate to English translations of a smattering of Japanese words

18 in anime pornography books. These translations are not valid copyrights and the

19 assertion of them should be dismissed as a matter of law. Next, Plaintiff does not

20 properly plead where allegedly copyrighted material is used by Nhentai.net as is

21 required for its prima facie case. In its FAC, Plaintiff asserts new copyrights with

22 links to www.nhentai.net that do not appear to lead to the content Plaintiff alleges

23 and/or link to material uploaded to www.nhentai.net well before Plaintiff claims the

24 works were even created. These are more than discrepancies – they call into serious

25
     1
    Plaintiff improperly includes both nHentai.net and nHentai.to as “Defendant(s).” Nhentai.net is
26 completely unrelated to nHentai.to. Nhentai.net does not respond to Plaintiff’s FAC or any
   pleadings as to or on behalf of nHentai.to.
27


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 1 question the veracity of Plaintiff’s filings and the validity of the asserted copyrights.

 2 The U.S. Copyright Office records also show that, if otherwise valid, the asserted

 3 copyrights are extremely limited and do not include the videos, images, or galleries

 4 that Plaintiff purports to assert. Even if Plaintiff could overcome these fatal flaws, it

 5 cannot meet the last prong of the prime facia case to show use without permission.

 6 Plaintiff’s claims for secondary infringement should likewise be dismissed for

 7 failure to plead direct infringement or even any right to bring such claims. Further,

 8 Plaintiff’s claims are time-barred because they were not brought within the required

 9 three-year period. Any such claims accrued at least as early as October of 2020 when

10 Plaintiff unquestionably knew about the alleged use and gave unsolicited permission

11 in writing to Nhentai.net, which was not restricted to any particular copyrights.

12 Plaintiff is also legally barred from recovering statutory damages and attorneys’ fees.

13 Lastly, Nhentai.net moves to strike certain allegations as well as relief that Plaintiff

14 does not have any right to pursue.

15                                   MOTION TO DISMISS
16 A.       Legal Standards
17          “Under Federal Rule of Civil Procedure 12(b)(6), a complaint must be
18 dismissed when a plaintiff's allegations fail to set forth a set of facts that, if true,

19 would entitle the complainant to relief.” Punak v. Indoor Lab, LLC, No. 8:23-CV-

20 01775-DOC-KESX, 2024 WL 1652624, at *2 (C.D. Cal. Mar. 28, 2024) (citing

21 Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009); Bell Atl. Corp. v. Twombly, 550 U.S.

22 544, 555 (2007)). “The pleadings must raise the right to relief beyond the speculative

23 level; a plaintiff must provide ‘more than labels and conclusions, and a formulaic

24 recitation of the elements of a cause of action will not do.’” Id. (quoting Twombly,

25 550 U.S. at 555). “On a motion to dismiss, a court accepts as true a plaintiff's well-

26 pleaded factual allegations and construes all factual inferences in the light most

27 favorable to the plaintiff.” Id. (citing Manzarek v. St. Paul Fire & Marine Ins. Co.,


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 1 519 F.3d 1025, 1031 (9th Cir. 2008)). “To survive a motion to dismiss, a complaint

 2 must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that

 3 is plausible on its face.’” Ashcroft, 556 U.S. at 678 (citing Twombly, 550 U.S. at

 4 570). The court is not bound to accept as true legal conclusions couched as factual

 5 allegations. Id. “The Supreme Court rejected the notion that ‘a wholly conclusory

 6 statement of a claim would survive a motion to dismiss whenever the pleadings left

 7 open the possibility that a plaintiff might later establish some set of undisclosed facts

 8 to support recovery.’” Lackey v. Sheppard, No. CV 22-5653 PA (JPRX), 2022 WL

 9 19241141, at *2 (C.D. Cal. Dec. 16, 2022) (citing Twombly, 550 U.S. at 561). And

10 “[w]hile the Federal Rules allow a court to dismiss a cause of action for ‘failure to

11 state a claim upon which relief can be granted,’ they also require all pleadings to be

12 ‘construed so as to do justice.’” Smith v. Weeknd, No. CV 19-2507 PA (MRWX),

13 2019 WL 6998666, at *1 (C.D. Cal. Aug. 23, 2019) (citing Fed. R. Civ. P. 12(b)(6),

14 8(e)). “[L]eave to amend should be granted ‘unless the court determines that the

15 allegation of other facts consistent with the challenged pleading could not possibly

16 cure the deficiency.’” DeSoto v. Yellow Freight Sys., Inc., 957 F.2d 655, 658 (9th

17 Cir. 1992) (quoting Schreiber Distrib. Co. v. Serv-Well Furniture Co., 806 F.2d

18 1393, 1401 (9th Cir. 1986)). “A district court does not err in denying leave to amend

19 where the amendment would be futile.” Id.

20 B.        No Prima Facie Case for Copyright Infringement.
21           To establish a prima facie case, Plaintiff must demonstrate: (1) ownership of
22 a valid copyright; and (2) use of the copyrighted material without permission. See,

23 e.g., Strike 3 Holdings, LLC v. John Doe Infringer Identified as Using IP Address

24 98.164.206.202, No. CV 22-06354 TJH (SPX), 2024 WL 4467590, at *1 (C.D. Cal.

25 Aug. 1, 2024) (citing Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., Inc., 499 U.S. 340,

26 361 (1991)). “To carry its burden of production on a copyright infringement claim,

27 a plaintiff must sufficiently allege two things: ownership of a valid copyright in the


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 1 allegedly infringed work and copying of protected aspects of that work.” Bosko

 2 Kante v. Dua Lipa, No. 2:23-CV-06186-HDV-PD, 2024 WL 4720798, at *2 (C.D.

 3 Cal. Sept. 10, 2024) (emphasis added) (citing Alfred v. Walt Disney Co., 821 Fed.

 4 Appx. 727, 728 (9th Cir. 2020)).

 5        1.      Plaintiff Fails to Plead Proper Ownership.
 6             Plaintiff’s FAC should be dismissed for lack of statutory standing because it
 7 has not pleaded facts showing proper ownership of the asserted copyrights. Issues of

 8 statutory standing are properly assessed in a motion to dismiss. “Lack of statutory standing … is

 9 properly raised as grounds for dismissal by way of a motion under Rule 12(b)(6) . . .” Payne v.

10 Manilow, No. CV183413PSGPLAX, 2018 WL 6321638, at *3 (C.D. Cal. Oct. 29, 2018) (citing

11 Maya v. Centex Corp., 658 F.3d 1060, 1067 (9th Cir. 2011)). “In order to have statutory standing

12 to bring a federal copyright infringement claim, a plaintiff must be the legal or beneficial owner

13 of the copyright.” Id. at *3 (citing Warren v. Fox Fam. Worldwide, Inc., 328 F.3d 1136, 1138 (9th

14 Cir. 2003)). Plaintiff has the burden to “establish[] a qualifying ownership interest both as a

15 substantive element of the infringement claim … and as a necessary predicate for standing to bring

16 the claim.” DRK Photo v. McGraw-Hill Glob. Educ. Holdings, LLC, 870 F.3d 978, 986 (9th Cir.

17 2017) (citing Feist, 499 U.S. at 361; 17 U.S.C. § 501(b)).

18             As to four of the seven asserted copyrights, the Copyright Office documents
19 show JAST USA, not Plaintiff, as the “copyright claimant” and apparent legal

20 owner. See Declaration of Jennifer M. Rynell (“Rynell Decl.”) Exs. A, C, D, G.2

21 Plaintiff purports to have standing to assert JAST USA’s copyrights based on a San

22 Diego County fictitious business entity filing. FAC ¶ 24. However, the filing number

23 provided by Plaintiff in support of this allegation does not appear to exist.

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      2
25   The Court can take judicial notice of the Copyright Office documents for purposes of deciding
   this motion. See, e.g., Lackey, 2022 WL 19241141, at *1, n1. Nhentai.net requests that the Court
26 take judicial notice of Copyright Office certificates, correspondence, and catalog printouts
   provided at Rynell Decl. Exs. A-I.
27


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 1 Nhentai.net’s counsel conducted searches by the filing number and all variations of

 2 the entity names and were unable to locate the alleged filing. Rynell Decl. ¶ 20.

 3            It is Plaintiff’s burden to plead proper ownership as part of its prima facie case
 4 and it failed to do so. Plaintiff’s FAC should be dismissed for failure to state a claim.

 5       2.      No Proof of Valid Copyrights; No Presumed Validity
 6            a. No Presumption of Validity.
 7            Plaintiff bears the burden to plead a prima facie case that it owns valid
 8 copyrights. Because Plaintiff did not attach registration certificates for the

 9 copyrights, Plaintiff is not entitled to any presumption of validity. Even if it had, in

10 order to avail itself of this presumption, Plaintiff would be required to show that the

11 works were registered “before or within five years after first publication of the

12 work.” 17 U.S.C. § 410(c). Plaintiff makes no allegations whatsoever in this regard.

13 And the Copyright Office documents obtained by Nhentai.net indicate facts contrary

14 to those pleaded by Plaintiff.

15            b. What Content is Copyrighted?
16            In determining whether Plaintiff has pleaded its prima facie case, a gating
17 inquiry is: What is actually copyrighted? Plaintiff vaguely alleges exclusive rights

18 in the works at issue that are not actually the subject of its (or JAST USA’s)

19 copyright registrations. The exclusive right Plaintiff now explicitly claims to have is

20 “to create and/or distribute English Language Derivative Works” for the Subject

21 Works. FAC ¶ 30, 69. However, the FAC also purports to assert infringement based

22 on “uploading, reproducing, adapting, distributing, publicly performing, and/or

23 publicly displaying and authorizing others to reproduce, adapt, distribute, publicly

24 perform, and/or publicly display copyright-protected portions, including the

25 Derivative Works, and elements of the Subject Works, and/or the Subject Works …”

26 FAC ¶ 71. There is not a shred of proof or any specificity supporting the exclusive

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 1 rights Plaintiff claims to have. And even if its claimed rights are true, the

 2 registrations for the asserted copyrights do not cover the breadth of exclusive rights

 3 it claims to own.

 4           Pursuant to Federal Rule of Civil Procedure 8, to properly state a claim for
 5 relief, Plaintiff is required “to ‘give the defendant fair notice of what the ... claim is

 6 and the grounds upon which it rests.’” Weeknd, 2019 WL 6998666, at *1 (citing

 7 Twombly, 550 U.S. at 555). Far from putting Nhentai.net on notice, Plaintiff’s FAC

 8 purports to assert rights it does not have. The documents and related correspondence

 9 between Plaintiff and/or JAST USA with the Copyright Office show unequivocally

10 that Plaintiff has not properly pleaded – and has, in fact, misrepresented – what

11 content is copyrighted. And the English translations at issue in the asserted

12 copyrights constitute material that is not copyrightable as a matter of law.

13           First, the U.S. Copyright Office records show that the asserted copyrights –
14 as registered – are extremely limited in scope. Each of the seven copyrights are “text”

15 copyrights and, as such, begin with the letters TX. Copyrights for visual materials

16 are claimed in a different manner and are registered beginning with the letters VA

17 for “visual arts”. There is no visual material at issue here. And the asserted

18 copyrights are not in any pictorial, graphic, audio-visual, or sculptural work. As

19 such, Plaintiff cannot claim infringement of any exclusive right in “display” despite

20 the fact that “display” or some variation appears 25 times in Plaintiff’s FAC. See

21 e.g., FAC ¶ 71. Plaintiff tells the Court that its “English language derivative works

22 include text, images and layout choices that are the subject of registration with the

23 Copyright Office.” FAC ¶ 69 (emphasis added). This is demonstrably false. Plaintiff

24 cannot claim any rights in the text itself, the images, or layout of the works and

25 cannot claim them as compilations. Plaintiff’s allegations are directly contrary to

26 statements made to the Copyright Office and are undermined by basic copyright law.

27           For two of the asserted copyrights, the stated basis is “English translation” of

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 1 a book primarily made up of images. See, e.g., Rynell Decl. Ex. A-B. As to the work

 2 “Hey … Let’s Do It,” the Certificate of Registration shows that the only new material

 3 included is the English translation. Rynell Decl. Ex. A. The certificate also shows

 4 “[m]aterial excluded from this claim: text, artwork, Original Japanese text, original

 5 artwork.” Id.

 6           JAST USA originally tried to claim far more than the English translation,
 7 including that it was the author of “text, Compilation and English translation.”

 8 Rynell Decl. Ex. H. The Copyright Office clarified whether JAST USA claimed to

 9 have authored “new and original text that has not been translated” and whether JAST

10 USA “intend[ed] to claim in a new and original compilation.” Id. The Copyright

11 Office also questioned JAST USA’s claim regarding “compilation.” Id. JAST USA

12 responded: “I authorize you to remove reference to ‘compilation’ … and new

13 material included statements…” and “to ‘text’ and proceed with registration of the

14 ‘English translation.” Id. Thereafter, the registered copyright reflected only the

15 English translation and not any claim as to new text or compilation. Rynell Decl.

16 Ex. A.

17           Likewise, the only copyright in “Submission Eternal My Lady, My Master”
18 is the English translation. Rynell Decl. Ex. B. As shown in Copyright Office

19 correspondence, Plaintiff originally filed the application with “Kabushiki Kaisha

20 Kill Time Communication as the author of ‘artwork’ and PCR Distributing as the

21 author of ‘compilation and English translation.’” Rynell Decl. Ex I. The Copyright

22 Office asked Plaintiff to confirm that its claim was only in the translation. Id.

23 Thereafter, the copyright registered reflecting exactly that – i.e., the English

24 translation and not artwork or compilation. Rynell Decl. Ex. B.

25           The other five asserted copyrights are “Literary works.” Rynell Decl. Exs. C-
26 G. However, “Literary works” specifically exclude images, i.e., “audiovisual

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 1 works.” See 17 U.S.C. § 101. 3 This is critical because Plaintiff has not demonstrated

 2 any right to sue for infringement of the images in the “Literary works.” Also, despite

 3 its own Copyright Office filings, Plaintiff asserts that Nhentai.net is unlawfully

 4 displaying “copyrighted videos” (FAC ¶ 47) and “distribute[s] infringing copies of

 5 image and text works” (FAC ¶ 5) (emphases added).

 6           U.S. Copyright Office records show that the asserted copyrights are extremely
 7 limited and do not include the videos, images, or galleries purportedly asserted by

 8 Plaintiff. Rynell Decl. ¶ 10, Exs. A-G.

 9           What remains after all other materials such as text, images, and compilations
10 were excluded from the copyrights is the translation of short, common words or

11 phrases from Japanese to English. An excerpt of one of the only non-explicit pages

12 from “Hey … Let’s Do It” is shown below on the left in its entirety. Rynell Decl. ¶

13 15. On the right is the same page with all non-copyrighted material removed so that

14 the Court can clearly see the true nature of the asserted copyrights:

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      3
     “Audiovisual works” are “works that consist of a series of related images which are intrinsically
27 intended to be shown … together with accompanying sounds, if any…” See 17 U.S.C. § 101.


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 1          Page of “Hey … Let’s Do It!”
                    TX9-380-863                             Purportedly Copyrighted Material
 2

 3

 4

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17
             Courts have found that “the degree of protection afforded by the copyright is
18
      measured by what is actually copyrightable in the publication and not by the entire
19
      publication.” See, e.g., Dorsey v. Old Sur. Life Ins. Co., 98 F.2d 872, 873 (10th Cir.
20
      1938) (emphasis added). Plaintiff cannot claim or assert any further rights than those
21
      on the right above, shown by way of example only. And even the limited material
22
      in the English translations is not valid or copyrightable.
23
             c.     Plaintiff’s Translations are not Valid or Copyrightable.
24
             In assessing a 12(b)(6) motion to dismiss copyright infringement claims, the
25
      Court in the Northern District of California stated that: “the determinative question
26
      is whether Plaintiff holds a valid copyright.” Signo Trading Intern. Ltd. v. Gordon,
27


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 1 535 F. Supp. 362, 363 (N.D. Cal. 1981). The Signo Trading Court dismissed

 2 Plaintiff’s infringement claims because plaintiff did not have a valid copyright as a

 3 matter of law in the translations and transliterations at issue because they lacked the

 4 “requisite originality.” Id. at 365.

 5           That authority is highly instructive here where Plaintiff has asserted
 6 copyrights that are allegedly “English language derivative works.” FAC ¶¶ 30, 69.

 7 Pursuant to 17 U.S.C. § 101, a derivative work must “recast, transform[], or adapt[]”

 8 a preexisting work and “consist[] of editorial revisions, annotations, elaborations, or

 9 other modifications which, as a whole, represent an original work of authorship.” Id.

10 In other words, it must change or alter the pre-existing work’s content and must itself

11 be an original work of authorship. The Supreme Court stated that “[t]he sine qua non

12 of copyright is originality” and that “[t]o qualify for copyright protection, a work

13 must be original to the author.” Feist, 499 U.S. at 345. “Original, as the term is used

14 in copyright, means only that the work was independently created by the author (as

15 opposed to copied from other works), and that it possesses at least some minimal

16 degree of creativity.” Id. (citing 1 M. Nimmer & D. Nimmer, Copyright §§ 2.01[A],

17 [B] (1990)).

18           In granting the motion to dismiss, the Signo Trading Court held that:
19           It is inconceivable that anyone could copyright a single word or a
             commonly used short phrase, in any language. It is also inconceivable
20           that a valid copyright could be obtained for a phonetic spelling, using
             standard Roman letters, of such words or phrases. Although lists of
21           words and translations of larger works may be copyrightable, Plaintiff
             cannot claim credit for any of the elements which make those things
22           copyrightable. For these reasons, Plaintiff does not hold a valid
             copyright on the translations or transliterations ...
23

24 Signo Trading, 535 F. Supp. at 365. Some selected phrases from the page shown

25 above are: “That’s her…” and “She’s chubby, but she’s mine.” Rynell Decl. ¶¶ 15-

26 16. There are many other words and short phrases used in the allegedly copyrighted

27 materials such as “shlurp,” “plap,” “I need it,” “Take it,” “Open wide,” “Yesss,”


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 1 “More,” “Yo! Special delivery,” “Now put it in your mouth,” and “What’s the

 2 blindfold for?” Rynell Decl., ¶¶ 15, 17. As in Signo Trading, Plaintiff did not

 3 contribute creativity or originality in the translation of these short words and phrases

 4 such that they would be copyrightable.

 5           The English translations in the asserted copyrights are not valid as a matter of
 6 law and Nhentai.net asks the Court to dismiss Plaintiff’s FAC with prejudice.

 7           d. Where Are the Allegedly Copyrighted Materials Actually Copied?
 8           As part of its prima facie case, Plaintiff must demonstrate actual copying of
 9 what is copyrighted. Despite the filing of its FAC and assertion of two additional

10 copyrights, Plaintiff still does not put Nhentai.net on notice of Plaintiff’s claims. For

11 example, with regard to the newly asserted TXu002435667 for the allegedly

12 unpublished work called “Sexual Healing,” the link Plaintiff provided in Dkt. No.

13 40-3 to https://nhentai.net/g/543331/ does not actually link to material that appears

14 to be called or relate to “Sexual Healing.” Rynell Decl. ¶ 13. Plaintiff’s “Amended

15 Complaint Works” as to “Sexual Healing” also states “with infringing gallery” and

16 “among other infringing galleries.” Dkt. No. 40-3. Even if the link provided did

17 somehow relate to the alleged “literary work,” in copyright terms, a literary work by

18 definition excludes audiovisual works, i.e., images. See 17 U.S.C. § 101. Plaintiff

19 falsely claims that its copyright for “Sexual Healing” “includes the English

20 translation and layout of English text with the pre-existing Japanese drawings and

21 text.” FAC ¶ 56 (emphasis added). But the Copyright Office catalog printout shows

22 that the pre-existing Japanese drawings and text are not part of Plaintiff’s copyright.

23 Rynell Decl. Ex. G. And the “infringing galleries” generically referred to are also

24 not part of Plaintiff’s copyright and do not in any way put Nhentai.net on notice of

25 what is allegedly copyrighted or copied. See, e.g., FAC ¶¶ 40, 57, 58, 59.

26           Further, as to the allegedly unpublished “literary work” called “She’s
27 Somebody’s Spouse,” the URL Plaintiff provided – https://nhentai.net/g/340116/ –


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 1 links to a work with a Japanese title that was uploaded four years and one month

 2 ago – literally years before Plaintiff claims the material was even created. Rynell

 3 Decl. ¶ 14, Ex. F. Also, Exhibit B to the FAC (Dkt. No. 40-2) contains 91 pages of

 4 alleged links on www.nhentai.net with a general reference to a copyright.

 5           Plaintiff’s FAC wholly fails to show that what is allegedly copyrighted is
 6 actually being copied, in part by misrepresenting the scope of the copyrights and

 7 citing to materials that do not appear to relate to the copyrights. Plaintiff’s failures

 8 unquestionably warrant dismissal of all claims.

 9           e. Use of the Copyrighted Material Without Permission
10           With respect to the last requirement for a prima facie case, there must be use
11 without permission. Plaintiff cannot in any universe establish use of copyrighted

12 material without permission, as permission was expressly given. The history

13 between these parties demonstrates there is no legitimate case for copyright

14 infringement against Nhentai.net and that Plaintiff’s FAC is frivolous, at best.

15 Beginning at least as early as October of 2020, Nhentai.net was expressly given

16 permission, in writing, to host Plaintiff’s content as shown in an email from

17 goldberg@jastusa.com entitled “Permission granted to host our content: J18

18 Publishing.”4 See Ex. 1. David Goldberg (“Goldberg”) states: “Right from the

19 beginning, I want to stress that this isn’t a takedown request or a DMCA.” In the

20 same email, Goldberg states: “We don't want to try to take down any of our

21 galleries-- we just want people to have a simple, safe, and easy way of getting to our

22
   4
     The emails at Exhibits 1-5 are authenticated due to their distinctive characteristics under Fed. R.
23 Evid. 901(4) which states that the requirement of authentication is established as to an item of

24 evidence by “[t]he appearance, contents, substance, internal patterns, or other distinctive
   characteristics of the item, taken together with all the circumstances” Courts have found such
25 materials to be authentic. See, e.g., Brown v. Wireless Networks, Inc., No. C 07-4301 EDL, 2008
   WL 4937827, at *4 (N.D. Cal. Nov. 17, 2008) These emails contain multiple chains (messages
26 sent back and forth), contain verifiable indicia including names and titles of senders giving
   Nhentai.net the permissions at issue, and span across a number of years.
27


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 1 site where they can buy physical copies of the comics they love.” Id. (emphases

 2 added). In December of 2020, Goldberg sent Nhentai.net an email providing a

 3 spreadsheet of over 3,300 links of which it was aware and gave permission to

 4 Nhentai.net to use, and for which it wanted to host banner advertisements on the

 5 Nhentai.net site. See Ex. 2. Until at least three years later, October of 2023, the

 6 communications between these parties made clear that Nhentai.net did not need to

 7 take any action to remove such materials from its site. See Exs. 1-5. A September

 8 2021 email from gavin@jastusa.com stated: “I’d like to run banner ads on uploads

 9 of our manga that link back to the official store where you can buy them. I *don't*

10 want to takedown the uploads of our titles, just give people an easy option for

11 purchasing them if they do enjoy. So those would be banners on specific pages.” See

12 Ex. 3 (emphasis added). Further undermining the allegations in the FAC, JAST USA

13 was contemplating paying Nhentai.net to run ads on the Nhentai.net site. Id. Plaintiff

14 has no legitimate claim for infringement and cannot show use without permission.

15 C.        PLAINTIFF’S CLAIMS ARE TIME-BARRED.
16           Dismissal of this case is proper from the outset because Plaintiff’s claims are
17 time-barred. The timeframe of the relationship between these parties and the

18 permission given is critical, as it shows that Plaintiff’s claims are brought beyond

19 the three-year statute of limitations. Parties should not be permitted to prosecute

20 expired and knowingly frivolous claims to the detriment of others, especially those

21 having no idea they could be haled into Court for their alleged actions. The Ninth

22 Circuit, citing U.S. Supreme Court precedent, stated “[a]t their core, ‘[s]tatutes of

23 limitations require plaintiffs to pursue diligent prosecution of known claims.’” Smith

24 v. Davis, 953 F.3d 582, 591 (9th Cir. 2020) (citing CTS Corp. v. Waldburger, 573

25 U.S. 1, 8 (2014)). The purpose of statutes of limitation are to “‘protect defendants

26 against stale or unduly delayed claims.’” Id. (citing John R. Sand & Gravel Co. v.

27 United States, 552 U.S. 130, 133 (2008)).


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 1           Consistent with these principles of fairness, in a recent case in this district, the
 2 Court granted a 12(b)(6) motion to dismiss with prejudice based on statute of

 3 limitations. See Dorval v. Rahimi, No. 2:24-CV-01347-JLS-MRW, 2024 WL

 4 3659601 (C.D. Cal. July 5, 2024). The Copyright Act states that a copyright claim

 5 must be “commenced within three years after the claim accrued.” 17 U.S.C. §

 6 507(b). “[A] copyright claim accrues under the discovery rule ‘when a party

 7 discovers, or reasonably should have discovered, the alleged infringement.’” Dorval,

 8 2024 WL 3659601, at *2 (citing Media Rights Tech., Inc. v. Microsoft Corp., 922

 9 F.3d 1014, 1022 (9th Cir. 2019)). Congress determined that this is “the appropriate

10 amount of time required to ensure fairness to alleged infringers . . .” Creative

11 Photographers, Inc. v. Brock Collection, LLC, No. 2:20-CV-09261-RGK-E, 2021

12 WL 3568243, at *3 (C.D. Cal. July 7, 2021).

13           In the instant case, there is literally no question that Plaintiff was aware of the
14 alleged use by Nhentai.net of what it claims are its copyrighted works well over three

15 years ago. See Exs. 1 - 5. For it to suggest otherwise would require falsified facts,

16 perjured testimony, and intentional misrepresentations to this Court. Any purported

17 claims accrued at least as early as October of 2020 when Plaintiff unquestionably

18 knew about the alleged use and blessed it in writing.

19           In Dorval, the Court found that the discovery rule did not apply as a matter of
20 law, stating: “[w]hile courts ordinarily do not apply the discovery rule as a matter of

21 law at the pleading stage, courts have done so where the facts alleged in a complaint

22 make it plain that ‘[e]ven a cursory investigation’ would have put a reasonable

23 plaintiff on notice of the alleged infringement.” Dorval, 2024 WL 3659601, at *2

24 (quoting In re Napster, Inc. Copyright Litig., 2005 WL 289977, at *4 (N.D. Cal.

25 Feb. 3, 2005)). What makes the Dorval analysis even more applicable here is that no

26 investigation was necessary to put Plaintiff on notice of the alleged use by

27 Nhentai.net. Plaintiff already knew. And in Dorval, the separate accrual rule did not


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 1 save that plaintiff’s claims from being time-barred and the Court ruled it inapplicable

 2 as a matter of law. See Dorval, 2024 WL 3659601, at *2. With regard to when a

 3 copyright infringement claim accrues, “[i]t is widely recognized that the separate-

 4 accrual rule attends the copyright statute of limitations, under which [e]ach wrong

 5 gives rise to a discrete claim that accrue[s] at the time the wrong occurs.” Id. (internal

 6 quotation marks omitted) (citing Petrella, 572 U.S. at 671). The facts of the instant

 7 case weigh even stronger in favor of dismissal than those in Dorval. There, the

 8 parties had an oral license agreement that was later terminated by text message. Id.

 9 at *1. The Dorval plaintiff discovered four years later that its copyrighted material

10 had never been removed and sent cease-and-desist letters. Id. The Dorval Court

11 rejected the counterintuitive argument that “(1) failing to take down videos when a

12 license expires, and (2) failing to take down those very same videos after receiving

13 cease-and-desist letters are somehow separate ‘wrongs.’” Id. at *3 (citing Petrella,

14 572 U.S. at 671). The Court held that the Dorval plaintiff “simply alleged

15 ‘continuing harm’ from a single ‘wrong.’” Id. (citing Petrella, 572 U.S. at 671 &

16 n.6). “The Supreme Court has cautioned that ‘separately accruing harm should not

17 be confused with harm from past violations that are continuing.’” Bell v. Oakland

18 Cmty. Pools Project, Inc., 2020 WL 4458890, at *5 (N.D. Cal. May 4, 2020) (citing

19 Petrella, 572 U.S. at 671 n.6). The Dorval Court also cited other cases that “reached

20 the same conclusion when presented with similar invocations of the separate-accrual

21 rule in cases involving content that was left posted online.” Dorval, 2024 WL

22 3659601, at *3 (citing Bell, 2020 WL 4458890, at *5) (collecting decisions that

23 “have concluded that the mere fact that a [copyrighted work] remained online does

24 not trigger the separate-accrual rule”); Wolf v. Travolta, 167 F. Supp. 3d 1077, 1099

25 n.13 (C.D. Cal. 2016) (“The fact that the allegedly infringing document—published

26 in 2010, outside the relevant three-year window—remained on defendant's website

27 through 2014 does not give rise to a discrete claim accruing within the three-year


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 1 window”).

 2           Plaintiff’s claims in this case are even more egregious and untenable than
 3 those in Dorval. There was express, unsolicited permission granted to Nhentai.net

 4 to use the allegedly copyrighted materials. It was not limited in any way to particular

 5 allegedly copyrighted material AND IT WAS NEVER RETRACTED. The fact that

 6 Plaintiff issued DMCA takedown notices and filed the instant lawsuit more than

 7 three years after granting permission to Nhentai.net does not somehow constitute a

 8 separate wrong that justifies this action being maintained. It shocks the conscience

 9 that any party or its counsel would be permitted to file such a frivolous and

10 knowingly false lawsuit without consequence. Indeed, Plaintiff may very well have

11 provided the express permissions in a calculated attempt to steal Nhentai.net’s entire

12 domain. Justice in this case requires the same conclusion reached in Dorval and the

13 other cited authorities: a complete dismissal of Plaintiff’s claims with prejudice, as

14 amendment would be futile.
      D.     SECONDARY INFRINGEMENT CLAIMS SHOULD BE DISMISSED
15

16           In addition to the claims for direct infringement, Plaintiff has also brought
17 secondary liability claims for vicarious, contributory, and inducing infringement.

18 “[T]he sufficiency of [a plaintiff’s] claim for secondary infringement depends on the

19 sufficiency of [its] claim for direct infringement.” Ticketmaster L.L.C. v. Prestige

20 Entm’t W., Inc., 315 F. Supp. 3d 1147, 1159 (C.D. Cal. 2018). “‘Secondary liability

21 for copyright infringement does not exist in the absence of direct infringement by a

22 third party.’” Weeknd, 2019 WL 6998666, at *3 (quoting A&M Records, Inc. v.

23 Napster, Inc., 239 F.3d 1004, 1013 n.2 (9th Cir. 2001)). Because Plaintiff has failed

24 to plead a prima facie case of direct infringement, all secondary infringement claims

25 should likewise be dismissed with prejudice, as leave to amend is futile.

26 E.        PLAINTIFF IS NOT ENTITLED TO STATUTORY DAMAGES OR
             ATTORNEYS’ FEES
27


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 1           Nhentai.net moves to dismiss Plaintiff’s FAC for failure to state a claim for
 2 statutory damages and attorneys’ fees. Section 412(2) of the Copyright Act

 3 “mandates that, in order to recover statutory damages, the copyright work must have

 4 been registered prior to commencement of the infringement, unless the registration

 5 is made within three months after first publication of the work.” Marshall v. Babbs,

 6 No. 218CV03822DDPAFMX, 2019 WL 1557429, at *3 (C.D. Cal. Apr. 10, 2019).

 7 Even assuming Plaintiff properly pleaded a prima facie case, Plaintiff is not entitled

 8 to statutory damages or attorneys’ fees, as nothing in its FAC establishes the

 9 requirements for such entitlement. In fact, they show that any such entitlement is

10 statutorily prohibited. Dismissal of the claims for statutory damages and attorneys’

11 fees on a motion to dismiss is proper in such instances. See id. at *4. The copyright

12 statute states:

13
                    … no award of statutory damages or of attorney’s fees . . .
14                  shall be made for-- (1) any infringement of copyright in an
                    unpublished work commenced before the effective date of
15                  its registration; or (2) any infringement of copyright
                    commenced after first publication of the work and before
16                  the effective date of its registration, unless such
17                  registration is made within three months after the first
                    publication of the work.
18

19 17 U.S.C. § 412. The Ninth Circuit found that this statute literally “leaves no room

20 for discretion.” Derek Andrew, Inc. v. Poof Apparel Corp., 528 F.3d 696, 699 (9th

21 Cir. 2008) (emphasis added)

22           The statute and its mandated limitation in subsection 1 make practical sense,
23 as any alleged infringer would be unaware of a claim to an unpublished work where

24 there is no copyright registration on file. Under the second prong, a plaintiff is not

25 entitled to statutory damages or attorneys’ fees if the alleged infringement occurs

26 and the plaintiff did not register the work within three months after first publication.

27 “Section 412 serves two fundamental purposes. ‘First, by denying an award of


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 1 statutory damages and attorney’s fees where infringement takes place before

 2 registration, Congress sought to provide copyright owners with an incentive to

 3 register their copyrights promptly.’” Marshall, 2019 WL 1557429, at *3 (internal

 4 citations omitted) (quoting Derek Andrew, 528 F.3d at 700). “Second, § 412

 5 encourages potential infringers to check the Copyright Office’s database.” Id.

 6           It is Plaintiff’s burden to plead entitlement to statutory damages and attorneys’
 7 fees and it has failed miserably to its own detriment. Plaintiff makes no allegations

 8 regarding the timing of publication of any copyrighted works. And the Copyright

 9 Office documents for five of the seven copyrights also contains no publication dates

10 and indicate that they were created in the past two years. Rynell Decl. Exs. C-G.

11           Interestingly, Exhibit B to Plaintiff’s FAC shows that any alleged
12 infringement by Nhentai.net would have occurred and/or began well prior to the

13 effective date of registration. For example, forty-nine of the ninety-one pages of

14 allegedly infringing links in Plaintiff’s Exhibit B relate to a sexually explicit picture

15 book entitled “Submission Eternal My Lady, My Master.” FAC Ex. B at 2-51.

16 According to the Certificate of Registration, this was an unpublished work created

17 in 2022 with a registration date of March 22, 2023. Rynell Decl. Ex. B. But the first

18 allegedly infringing URL (https://nhentai.net/g/312283/) goes to the first page of the

19 book “Submission Eternal My Lady, My Master” and shows it was “Uploaded: 4

20 years, 9 months ago” i.e., in 2020. Id.; see also Rynell Decl. ¶ 11. Four years and

21 nine months ago, this was an unpublished work according to Plaintiff’s later

22 representations to the Copyright Office, with no registration on file. As such, the law

23 mandates that Plaintiff is not entitled to statutory damages or attorneys’ fees. See 17

24 U.S.C. § 412. Plaintiff also cannot show entitlement to statutory damages and/or

25 attorneys’ fees on the other basis in section 412, as the work was not copyrighted

26 within three months of publication (given it was uploaded 4 years and 9 months ago).

27           Likewise, the other copyright asserted by Plaintiff that purports to be a book

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 1 is entitled “Hey… Let’s Do It.” Rynell Decl. Ex. A. According to Copyright Office

 2 filings, this work was published on July 1, 2023 and has a registration date of

 3 October 5, 2023. Id. Again, direct links from Plaintiff’s Exhibit B show that any

 4 alleged infringement by Nhentai.net as to this copyright would have occurred and/or

 5 began literally years before the registration date. FAC Ex. B, at 51-53, Dkt. No. 40-

 6 2. The first allegedly infringing URL - https://nhentai.net/g/208694/ - goes to a page

 7 of a book, which shows it was “Uploaded: 7 years, 4 months ago” i.e., in 2017. Id.;

 8 Rynell Decl. ¶ 12. Seven years and four months ago, this was an unpublished work

 9 with no copyright registration on file. Copyright law mandates that Plaintiff is not

10 entitled to statutory damages or attorneys’ fees, assuming it could meet all other

11 requirements. See 17 U.S.C. § 412. Plaintiff also cannot show entitlement to

12 statutory damages and/or attorneys’ fees on the other section 412 basis, as the work

13 was not copyrighted within three months of publication (given it was uploaded 7

14 years and 4 months ago).

15           Congressional reasons for barring statutory damages and attorneys’ fees are
16 especially critical here given the history of the parties, the express permissions

17 granted, and the Copyright Office filings. Dismissal is warranted as to claims for

18 statutory damages and attorneys’ fees and the related prayers for relief in its FAC,

19 without leave to amend. See, e.g., Weeknd, 2019 WL 6998666, at *7.

20                                    MOTION TO STRIKE
21           Should this case not be dismissed on one or more of the preceding grounds,
22 Nhentai.net moves to strike allegations in Plaintiff’s FAC and requested relief

23 pursuant to Federal Rule of Civil Procedure 12(f). Plaintiff makes allegations

24 regarding a website that is unrelated to Nhentai.net, purports to assert rights of others

25 knowing it has no standing to do so, and seeks relief it would not be entitled to on

26 its best day in Court.

27           “Federal Rule of Civil Procedure 12(f) provides that ‘the court may order

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 1 stricken from any pleading any insufficient defense or any redundant, immaterial,

 2 impertinent, or scandalous matter.’” Weeknd, 2019 WL 6998666, at *2. “The

 3 function of a 12(f) motion to strike is to avoid the expenditure of time and money

 4 that must arise from litigating spurious issues by dispensing with those issues prior

 5 to trial.” Id. (citing Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993)).

 6 “Redundant allegations are those that are needlessly repetitive or wholly foreign to

 7 the issues involved in the action.” Id. (citing Cal. Dept. of Toxic Substances Control

 8 v. Alco Pacific, Inc., 217 F. Supp. 2d 1028, 1033 (C.D. Cal. 2002)). “Matter is

 9 ‘immaterial’ where it has ‘no essential or important relationship to the claim for

10 relief ... being pleaded.’” Id. (citing Fantasy, 984 F.2d at 1527). “‘Impertinent’

11 matter does not pertain, and is not necessary, to the issues in question.” Id.

12                              A.     Plaintiff’s FAC Includes an Unrelated Tongan
13                                     Website.
14           Plaintiff purports to plead a case as to the website www.nhentai.to, stating that
15 “Defendants also own and operate the URL nHentai.to.” FAC ¶ 11. As discussed in

16 a hearing before Magistrate Richlin, the website nhentai.to is completely unrelated

17 to www.nhentai.net. The “.to” in nhentai.to refers to the Kingdom of Tonga, an

18 island in Polynesia. It has nothing to do with Plaintiff’s allegations against

19 Nhentai.net and falls into each of the categories mentioned above for properly

20 striking material from a complaint.

21           Nhentai.net asks the Court to strike any such allegations from this case. See,
22 e.g., Weeknd, 2019 WL 6998666, at *2.

23 B.        Plaintiff Purports to Plead the Rights of Others.
24           Plaintiff purports to plead the rights of all other individuals and/or entities
25 whose copyrighted material allegedly appears on www.nhentai.net. Plaintiff has not

26 even properly pleaded its own case and literally has no right to assert copyrights of

27 others or claims of infringement for others. Any such matters should be stricken. At


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 1 best, Plaintiff’s FAC contains material that is wholly foreign to this case and has no

 2 relationship and does not pertain to any of Plaintiff’s alleged rights. Plaintiff makes

 3 claims that are not tied to or limited by its alleged copyrights—for example: “The

 4 website hosts a vast collection of hentai works, including commercially produced

 5 content, much of which, based on information and belief, is shared without proper

 6 authorization from the owners.” FAC ¶ 39. Similarly, Plaintiff claims that

 7 “Nhentai.net is a website that displays pirated copyright-registered adult

 8 entertainment content without authorization or license.” FAC ¶ 38. Plaintiff states:

 9 “Defendants were aware of or were willfully blind to the fact that pirated copyrighted

10 materials comprised popular works on nHentai.” FAC ¶ 79. Plaintiff does not try to

11 limit its FAC to its own content or copyrights and has no basis to seek relief relating

12 to all content on the entire domain. Plaintiff’s FAC further states: “Defendants’ acts

13 and omissions allow them to profit from their infringement while imposing the

14 burden of monitoring Defendants’ website onto copyright holders, without sufficient

15 means to prevent continued and unabated infringement.” Id. ¶ 67. Plaintiff lacks

16 standing to assert the rights of “all copyright holders” and has not even established

17 itself as a proper copyright holder. As previously shown, Plaintiff is required to

18 “establish[] a qualifying ownership interest both as a substantive element of the

19 infringement claim … and as a necessary predicate for standing to bring the claim.”

20 DRK Photo, 870 F.3d at 986 (internal citations omitted) (citing Feist, 499 U.S. at

21 361; 17 U.S.C. § 501(b); Urbont, 831 F.3d at 88). Any such allegations are not

22 properly part of the case.

23 C.        Extreme Overreach in Plaintiff’s Request for Relief.
24           Relatedly, Plaintiff seeks relief that it would never be entitled to even if it
25 proved every allegation in its FAC. Specifically, Plaintiff requests that the

26 Nhentai.net website be transferred to “Plaintiff’s ownership and control.” FAC 22,

27 ll. 7-17. It is difficult to overstate the gross overreach of this requested relief. Plaintiff


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 1 literally asks the Court to give it control over the entire nhentai.net domain, a website

 2 that has over 500,000 pages, of which Plaintiff complains (however frivolously)

 3 about less than one percent. Plaintiff also asks the Court for injunctive relief

 4 blocking all U.S. users from accessing any link at www.nhentai.net. FAC 22-23.

 5 Plaintiff does not assert copyright protection over even one percent of the website

 6 and would never be entitled to this relief given the specious nature of Plaintiff’s

 7 claims and the history between these parties. Plaintiff also seeks transfer of the entire

 8 domain despite its own statement that “Defendants have contractual relationships

 9 with United States companies to promote those companies’ services on nHentai.”

10 FAC ¶ 15. Yet, Plaintiff asks to obtain control over a website that it alleges in its

11 own pleading deals with other companies’ rights pursuant to contracts with

12 Nhentai.net.

13           These are precisely the kinds of spurious issues that should be stricken so
14 parties do not have to expend significant time and money defending them. Plaintiff

15 should not be permitted to pursue such claims and requested relief to Nhentai.net’s

16 prejudice.

17                                         CONCLUSION
             Nhentai.net respectfully asks the Court to dismiss all claims in Plaintiff’s
18
      FAC. If Plaintiff’s FAC is not dismissed in its entirety, Nhentai.net asks the Court
19
      to strike the requested matter contained therein.
20

21
         DATED: February 10, 2025                Respectfully submitted,
22

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                       L.R. 11-6.2. CERTIFICATE OF COMPLIANCE
14
             The undersigned counsel of record for Nhentai.net certifies that this brief
15
      (including the notice of motion and memorandum of points and authorities) contains
16
      6,950 words, which complies with the word limit of L.R. 11-6.1.
17

18                                                     /s/ Jennifer M. Rynell
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19

20
                                  CERTIFICATE OF SERVICE
21
             On February 10, 2025, I filed the foregoing document with the clerk of court
22
      for the U.S. District Court, Central District of California via CM/ECF. I hereby
23
      certify that I thereby have served the document on all counsel and/or pro se parties
24
      of record by a manner authorized by Federal Rule of Civil Procedure 5(b)(2) and the
25
      Local Rules.
26
                                                        /s/ Jennifer M. Rynell
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